                                                                            08/26/2024


      IN THE SUPREME COURT OF THE STATE OF MONTANA                      Case Number: DA 24-0399



                             No. DA 24-0399

STATE OF MONTANA,

           Plaintiff and Appellee,
vs.

PAUL DOUGLAS CREASON,

           Defendant and Appellant.


                                 GRANT



      Pursuant to authority granted under Mont. R. App. P. 26(1), the

Appellant is given an extension of time until September 30, 2024 to

prepare, file, and serve the Appellant’s opening brief.




                                                            Electronically signed by:
                                                               Bowen Greenwood
                                                           Clerk of the Supreme Court
                                                                 August 26 2024
